556 F.2d 558
    95 L.R.R.M. (BNA) 2626, 82 Lab.Cas.  P 10,042
    N. L. R. B.v.District 1199, National Union of Hospital &amp; HealthcareEmployees, RWDSU, AFL-CIO
    No. 76-4073
    United States Court of Appeals, Second Circuit
    11/23/76
    
      1
      N.L.R.B.
    
    
      2
      ENFORCEMENT DENIED*
    
    
      
        *
         Oral opinion delivered in open court in the belief that no jurisprudential purpose would be served by a written opinion.  An oral opinion or a summary order is not citable as precedent.  Local Rule Sec. 0.23
      
    
    